                    IN THE UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

 IN RE:                                      )
                                             )
 ROBERTS, WILLIAM BARRIER                    ) CASE NO. 18-83442-CRJ11
 SSN: XXX-XX-9314                            ) CHAPTER 11
                                             )
      Debtor.                                )




                AMENDED CHAPTER 11 PLAN OF REORGANIZATION OF
                     WILLIAM BARRIER ROBERTS, DEBTOR
                         AND DEBTOR-IN-POSSESSION




                                      August 21, 2019




Stuart M. Maples
MAPLES LAW FIRM, PC
200 Clinton Avenue West, Suite 1000
Huntsville, Alabama 35801
(256) 489-9779 – Telephone
(256) 489-9720 – Facsimile
smaples@mapleslawfirmpc.com

Counsel for Debtor-in-Possession




Case 18-83442-CRJ11        Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29   Desc
                             Main Document    Page 1 of 17
          DEBTOR’S AMENDED CHAPTER 11 PLAN OF REORGANIZATION
                         DATED AUGUST 21, 2019


        In accordance with 11 U.S.C. § 1121, William Barrier Roberts, debtor-in-possession
("Debtor") in the above captioned Chapter 11 case files this Amended Plan of Reorganization
dated August 21, 2019, (the "Plan"), in the United States Bankruptcy Court for the Northern
District of Alabama, Northern Division ("Bankruptcy Court" or "Court").

                                               I.
                                          DEFINITIONS

        The following terms shall have the following meanings unless the context otherwise
requires and, unless otherwise indicated, the singular shall include the plural. The definitions
contained in §§101 and 1101 of the Bankruptcy Code shall control unless different definitions are
stated herein, in which case the definitions as stated herein shall control for purposes of this Plan.

       1.01 "Accounting Fees" means accounting and/or administrative management fees for
preparing tax returns and other financial reports.

        1.02 "Administrative Claim" means Claims that have been timely filed before the
Administrative Claim Bar Date (except as otherwise provided by a separate order of the
Bankruptcy Court, including the Sale Procedures Order), for costs and expenses of administration
under §§ 503(b), 507(b) or 1114(e)(2) of the Bankruptcy Code, including, without limitation: (a)
the actual and necessary costs and expenses incurred after the Petition Date of preserving the Estate
and operating the business of the Debtor (such as wages, salaries or commissions for services and
payments for goods and other services); and (b) all fees and charges assessed against the Estate
under Chapter 123 of Title 28 of the United States Code, 28 U.S.C. §§ 1911-1930, but excluding
Professional Fee Claims.

        1.03 "Allowed" means with respect to any Claim, except as otherwise provided herein:
(a) a Claim that has been scheduled by the Debtor in its schedules of liabilities as other than
disputed, contingent or unliquidated, unless a Proof of Claim has been timely filed, and as to which
the Debtor or other parties-in-interest have not Filed an objection by the Claims Objection Bar
Date; (b) a Claim that has been allowed by a Final Order; (c) a Claim that is Allowed: (i) in any
stipulation of the amount and nature of a Claim executed prior to the Effective Date and approved
by the Bankruptcy Court; or (ii) in any stipulation with the Debtor of the amount and nature of a
Claim executed on or after the Effective Date; (d) a Claim that is Allowed pursuant to the terms
hereof; or (e) a Claim as to which a Proof of Claim has been timely Filed and as to which no
objection has been Filed by the Claims Objection Bar Date.

        1.04 "Allowed Claim" means a right against the Debtor within the meaning of § 101(5)
of the Bankruptcy Code in respect of which a Proof of Claim has been filed with the Bankruptcy
Court within the period of limitation fixed by Bankruptcy Rule 3003 or scheduled in the list of
creditors prepared and filed with the Bankruptcy Court pursuant to Bankruptcy Rule 1007(b) and
not listed as disputed, contingent or unliquidated as to amount, and in either case as to which no
objection as to allowance or amount thereof has been raised within the applicable period of




Case 18-83442-CRJ11          Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                  Desc
                               Main Document    Page 2 of 17
limitation fixed by Bankruptcy Rule 3001 or an order of the Bankruptcy Court or local rule, or as
to which any such objection has been determined by an order or judgment which is no longer
subject to appeal or certiorari proceeding and as to which no appeal or certiorari is pending. Unless
otherwise specified in this Plan or in a Final Order of the Bankruptcy Court allowing such Claim,
“Allowed Claim” shall not include (a) interest on the amount of such Allowed Claim accruing
from and after the Petition Date, (b) punitive or exemplary damages, (c) any fine, penalty or
forfeiture, (d) costs of repossession or dispossession or (e) post-petition attorney fees and costs
unless such fees and costs have been approved and allowed by Final Order prior to the
Confirmation Date.

       1.05 “Avoidance Actions” means any and all avoidance, recovery, subordination or
other actions or remedies that may be brought on behalf of the Debtor, or its Estate under the
Bankruptcy Code or applicable non-bankruptcy law, including, without limitation, actions or
remedies under §§ 510, 542, 543, 544, 545, 547, 548, 549, 550, 551, 552 and 553 of the Bankruptcy
Code.

        1.06   "Bankruptcy Code" has the meaning given to such term in the preamble of this
Plan.

       1.07 "Bankruptcy Court" or "Court" means the United States District Court for the
Northern District of Alabama, having jurisdiction over the Chapter 11 Case and, to the extent of
any reference made pursuant to Section 157 of Title 28 of the United States Code or the General
Order of the District Court pursuant to Section 151 of Title 28 of the United States Code, the
United States Bankruptcy Court for the Northern District of Alabama.

        1.08 "Bankruptcy Rules" means the Federal Rules of Bankruptcy Procedure,
promulgated under 28 U.S.C. § 2075, the Local Rules of Bankruptcy Practice and Procedure of
the United States Bankruptcy Court for the Northern District of Alabama, the Local Rules of Civil
Practice and Procedure of the United States District Court for the Northern District of Alabama,
and general orders and chambers procedures of the Bankruptcy Court, each as applicable to the
Chapter 11 Case and as amended from time to time.

        1.09 "Bar Date" means the date established by the Court as the deadline for filing all
Claims. Bar date for governmental claim holders in a Chapter 11 case is 180 days from the date
of filing. Claims filed after the Bar Date, which are not otherwise Allowed Claims, will be
disallowed and of no effect.

        1.10 “Business Day” means any day, other than a Saturday, Sunday, “legal holiday” (as
that term is defined in Bankruptcy Rule 9006(a)) or a day on which banking institutions in the
State of Alabama are authorized or obligated by law, executive order or governmental decree to
be closed.

        1.11   "Claim" means a “claim” as that term is defined in § 105(5) of the Bankruptcy
Code.

        1.12   "Class" means one of the classes of allowed claims or equity interests established
by the Plan.




Case 18-83442-CRJ11          Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                 Desc
                               Main Document    Page 3 of 17
      1.13 "Confirmation Date" means the date of the Confirmation Order is entered by the
Bankruptcy Court.

       1.14 "Confirmation Order" means the order of the Bankruptcy Court in form and
substance acceptable to the Debtor, confirming this Plan pursuant to § 1129 of the Bankruptcy
Code.

      1.15 "Court" means the United States Bankruptcy Court for the Northern District of
Alabama, Northern Division.

       1.16    "Debtor" means William Barrier Roberts.

       1.17    “Disbursing Agent” means William Barrier Roberts.

       1.18    "Effective Date" means thirty (30) days after the Confirmation Date.

       1.19 "Estate” means the estate of the Debtor created on the Petition Date by § 541 of
the Bankruptcy Code.

       1.20 “Executory Contract” or “Unexpired Lease” means a contract or lease to which
the Debtor is a party that is subject to assumption, assumption and assignment or rejection under
§ 365 of the Bankruptcy Code.

       1.21 “File” or “Filed” means, with respect to any pleading, entered on the docket of the
Chapter 11 Case and properly served in accordance with the Bankruptcy Rules or with respect to
a Claim, a Claim for which a Proof of Claim has been properly and timely filed in accordance with
the deadlines established by the Bankruptcy Court for filing Proofs of Claim.

        1.22     “Final Order” means an order or judgment of the Bankruptcy Court, or other court
of competent jurisdiction with respect to the subject matter, which has not been reversed, stayed,
modified or amended, and as to which the time to appeal, petition for a writ of certiorari or move
for reargument or rehearing has expired and no such appeal, petition, or motion has been timely
Filed, or as to which any appeal, petition, or motion that has been Filed has been resolved by the
highest court to which the order or judgment was appealed or from which certiorari was sought or
has otherwise been dismissed; provided, however, that the possibility that a motion under Federal
Rule of Civil Procedure 60 or Federal Rule of Bankruptcy Procedure 9024 may be filed with regard
to such an order or judgment shall not cause such order or judgment not to be a Final Order.

       1.23 “General Unsecured Claims” means Claims against the Debtor that are not
Secured Claims, Administrative Claims, Priority Claims, Professional Fee Claims, Deficiency
Claims or claims for rejection damages under an executory contract or unexpired lease.

       1.24 “Impaired” means, with respect to a Claim, or Class of Claims, “impaired” within
the meaning of §§ 1123(a)(4) and 1124 of the Bankruptcy Code.

       1.25    "IRS" means the United States Treasury, Internal Revenue Service.




Case 18-83442-CRJ11         Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                Desc
                              Main Document    Page 4 of 17
        1.26 “Net Plan Profits” means net profits determined in accordance with generally
accepted accounting principles consistently applied: (a) less administrative payments which are
due on or before the date on which Net Plan Profits are being calculated; (b) less any payments
required by this plan, which are due on or before the date on which Net Plan Profits are being
calculated, other than payments out of Net Plan Profits.

        1.27 "Plan" means this plan of liquidation under Chapter 11 of the Bankruptcy Code,
either in its present form or as it may be altered, amended, modified or supplemented from time to
time in accordance with the Bankruptcy Code, the Bankruptcy Rules or herewith, as the case may
be.

       1.28    "Petition Date" means November 16, 2018.

       1.29 "Priority Claim" means those expenses and claims which may be provided for
under 11 U.S.C. Section 507 (a) (2), (3), (4), (5), (6), (7), (8) and (9) of the Code.

       1.30    "Proponent" means Debtor.

       1.31 "Pro Rata" means the ratio of the amount of an individual Claim in any particular
Class of Claims to the aggregate amount of all Claims in such Class that have not yet been
disallowed.

         1.32 "Secured Claim" means a Claim against the Debtor (a) for an extension of credit
to the Debtor that is secured by a Lien on property in which the Debtor’s Estate has an interest or
that is subject to setoff under § 553 of the Bankruptcy Code, to the extent of the value of the Holder
of such Claim’s interest in the Estate’s interest in such property or to the extent of the amount
subject to setoff, as applicable, as determined pursuant to § 506(a) and, if applicable, § 1129(b) of
the Bankruptcy Code, (b) arising under equipment financing leases, or (c) a tax claim secured by
a Lien on property of the Debtor. To the extent the value of any property securing such Claim is
less than the amount of such Claim, the difference between such value and such Claim is a
“Deficiency Claim.”

        1.33 “Unimpaired” means, with respect to a Claim or Class of Claims, not “impaired”
within the meaning of §§ 1123(a)(4) and 1124 of the Bankruptcy Code.

        1.34 "Unsecured Claim" means an unsecured claim, including a Deficiency Claim, that
is not an Administrative Claim, a Claim for a Cure Amount, an Equity Claim, a Priority Claim, a
Priority Tax Claim, or a Secured Claim, but shall not include any Claim that is disallowed or
released, whether by operation of law, Final Order, written agreement, the provisions of this Plan
or otherwise.




Case 18-83442-CRJ11          Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                  Desc
                               Main Document    Page 5 of 17
                                    II.
            CLASSES AND CLASSIFICATIONS OF CLAIMS AND INTEREST

2.0    UNCLASSIFIED CLAIMS

       A.     Administrative Expense Claims. Administrative Expense Claims shall consist of
       all administrative expense claims of the Debtor’s Chapter 11 case as allowed pursuant to
       § 503(b) of the code and given priority in accordance with § 507(a)(1) of the Code. These
       claims are divided into the following sub-categories:

              (i)     Maples Law Firm, P.C.: Debtor has incurred legal fees with the law firm
              of Maples Law Firm, P.C., relating to the firm’s representation of the Debtor in
              Bankruptcy. These legal fees, if approved by the Court, shall constitute an
              Administrative Expense Claim which is unimpaired and shall be paid in full as of
              the Effective Date of the Plan.
              (ii)    Julie Lockwood of Van Valkenburgh & Wilkinson Properties, Inc.:
              Debtor retained Julie Lockwood as its Realtor for the efficient sale of certain real
              Property, pursuant the Order entered on July 9, 2019 [See Doc. 130]. These fees,
              if approved by the Court, shall constitute an Administrative Expense Claim which
              is unimpaired and shall be paid in full as of the Effective Date of the Plan.
              (iii) Callahan PC.: Debtor retained Callahan PC as special counsel to aid in
              representation of the Debtor in oppression litigation concerning his interest in B&B,
              pursuant to the Order entered on February 21, 2019 [See Doc. 54]. These legal
              fees, if approved by the Court, shall constitute an Administrative Expense Claim in
              the amount of $164,074.70 which is unimpaired and shall be paid in full as of the
              Effective Date of the Plan.

       B.     Tax Claims.
              (i)     The Allowed Tax Claim of the IRS.
              (ii)    The Allowed Tax claim of the Alabama Department of Revenue.
              (iii)   The Allowed Tax claim of any other taxing authorities.

2.01   UNIMPAIRED CLASSES

       All classes of claims are impaired under the Plan.

2.02   IMPAIRED CLASSES

       Class 1 – Allowed Secured Claims.

       Class 1(a) shall consist of the Allowed Secured Claim No. 8 of GMFS, LLC c/o Specialized
       Loan Servicing, LLC in the amount of $305,639.65.




Case 18-83442-CRJ11         Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                Desc
                              Main Document    Page 6 of 17
       Class 1(b) shall consist of the Allowed Secured Claim of Smart Bank in the amount of
       $185,000.00.

       These claims are secured by the Debtor’s marital residence located at 2203 Annadale Road,
       Huntsville, Alabama 35801. The Debtor’s interest in this property is 50%. There is a
       significant amount of equity in the property securing the claims of GMFS, LLC c/o
       Specialized Loan Servicing, LLC and Smart Bank. The property is currently listed for sale
       and once sold, will pay off both secured creditors and still have money left in the estate.

       Class 2 – Allowed Unsecured Claims.

       Class 2 shall consist of the Allowed Unsecured Claims of all other unsecured creditors

       Class 3 – Individual Equity.

       Class 3 shall consist of Individual Equity Claims of the Debtor. No payment will be made
       unless all Allowed Unsecured Claims are paid in full. No Individual Equity payments are
       expected at this time other than Debtor’s monthly household expenses.

       Class 4 – Shannon League Roberts Domestic Support Obligations.

       Class 4 shall consist of the domestic support obligations to Shannon League Roberts arising
       from the Divorce Proceedings filed in Madison County Circuit Court Case No. DR-2018-
       900823; Shannon Roberts v. William B. Roberts. Settlement discussions are ongoing, but
       no resolution has been reached at this time

                                  III.
         IMPAIRMENT AND TREATMENT OF CLASSES UNDER THE PLAN

        The Plan will be summarized by incorporation of pertinent portions. Other provisions of
the Plan are extremely important, especially Article I, Definitions. The Plan should be read in full.

3.0    TREATMENT OF UNCLASSIFIED CLAIMS

       A.       Administrative Expense Claims: This class shall consist of all administrative
expense claims of the Debtor' Chapter 11 case as allowed pursuant to § 503(b) of the Code and
given priority in accordance with § 507(a)(1) of the Code. This class is divided into the following
sub-classes:

               (i)     Maples Law Firm, P.C.: Debtor has incurred legal fees with the law firm
                       of Maples Law Firm, P.C., relating to the firm’s representation of the Debtor
                       in Bankruptcy in the amount of $30,000.00. These legal fees, if approved
                       by the Court, shall constitute an Administrative Expense Claim which is
                       unimpaired and shall be paid in full as of the Effective Date of the Plan.




Case 18-83442-CRJ11          Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                 Desc
                               Main Document    Page 7 of 17
          (ii)    Julie Lockwood of Van Valkenburgh & Wilkinson Properties, Inc.:
                  Debtor retained Julie Lockwood as its Realtor for the efficient sale of certain
                  real Property, pursuant the Order entered on July 9, 2019 [See Doc. 130].
                  These fees, if approved by the Court, shall constitute an Administrative
                  Expense Claim which is unimpaired and shall be paid in full as of the
                  Effective Date of the Plan.

          (iii)   Callahan PC.: Debtor retained Callahan PC as special counsel to aid in
                  representation of the Debtor in oppression litigation concerning his interest
                  in B&B, pursuant to the Order entered on February 21, 2019 [See Doc. 54].
                  These legal fees, if approved by the Court, shall constitute an
                  Administrative Expense Claim in the amount of $164,074.70 which is
                  unimpaired and shall be paid in full as of the Effective Date of the Plan.


     B.   Tax Claims.


          (i)     IRS.: The IRS asserts a Priority Claim of $13,089.88. The Allowed Priority
                  Claim of the IRS shall be paid in the sixty (60) equal monthly installments,
                  commencing sixty (60) days after the Effective Date of the Plan. Payment
                  on the IRS Tax Claim shall be $241.00 per month, at 4% interest, per
                  annum.

                  During the pendency of the repayment period for the pre-petition tax debt
                  owed to the IRS, in the event the Debtors fail to remit any monthly payment
                  on the IRS unsecured priority claim as each payment becomes due; or,
                  timely file any and all post-petition federal income tax returns by the due
                  date for each respective tax period including any extensions and pay the
                  taxes due on the return; the automatic stay will be considered terminated
                  and the IRS may proceed with its legal and/or administrative remedies to
                  collect any and all sums due on its amended claim and any post-petition
                  liability.

          (ii)    Alabama Department of Revenue.: The Alabama Department of Revenue
                  asserts a Priority Claim of $5,630.62. The Allowed Priority Claim of the
                  Alabama Department of Revenue shall be paid in the sixty (60) equal
                  monthly installments, commencing sixty (60) days after the Effective Date
                  of the Plan. Payment on the Alabama Department of Revenue Tax Claim
                  shall be $104.00 per month, at 4% interest, per annum.




Case 18-83442-CRJ11     Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                  Desc
                          Main Document    Page 8 of 17
3.01   TREATMENT OF IMPAIRED CLAIMS

       Classified Claims.

       Class 1 – Secured Claims.

       Class 1(a) shall consist of the Allowed Secured Claim No. 8 of GMFS, LLC c/o Specialized
       Loan Servicing, LLC in the amount of $305,639.65

       Class 1(b) shall consist of the Allowed Secured Claim of Smart Bank in the amount of
       $185,000.00.

       These claims are secured by the Debtor’s marital residence located at 2203 Annadale Road,
       Huntsville, Alabama 35801. The Debtor’s interest in this property is 50%. There is a
       significant amount of equity in the property securing the claims of GMFS, LLC c/o
       Specialized Loan Servicing, LLC and Smart Bank. The property is currently listed for sale
       and once sold, will pay off both secured creditors and still have money left in the estate.


       Class 2 – Unsecured Claims.

       Class 2 shall consist of the Allowed Unsecured Claims of all other unsecured creditors.
       The Allowed Unsecured Claims of the unsecured creditors will be paid from the remainder
       of the disposable income of the Debtor after the payment of all administrative and tax
       claims for sixty (60) months after the Effective Date of the Plan.


       Class 3 – Individual Equity.

       Class 3 shall consist of Individual Equity Claims of the Debtor. No payment will be made
       unless all Allowed Unsecured Claims are paid in full. No Individual Equity payments are
       expected at this time other than the Debtor’s monthly household expenses.

       Class 4 – Shannon League Roberts for Domestic Support Obligations.

       Class 4 shall consist of the domestic support obligations to Shannon League Roberts arising
       from the divorce proceedings filed in Madison County Circuit Court Case No. DR-2018-
       900823; Shannon Roberts v. William B. Roberts.

                                              IV.
                  PROVISIONS FOR REJECTION AND ASSUMPTION
                          OF EXECUTORY CONTRACTS

        To the best of Debtor’s knowledge, he is not a party to any executory contacts. To the
extent that the Debtor is a party to such a contract, the same is hereby assumed.




Case 18-83442-CRJ11         Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29               Desc
                              Main Document    Page 9 of 17
                                          V.
                            MEANS OF EXECUTION OF THE PLAN

5.01 Means of Implementation of the Plan. Debtor shall implement the terms of the Plan by
executing all documents necessary. Debtor shall also execute such additional documents as are
necessary to comply with the terms of the Plan.

5.02 Execution of All Documents. The Plan authorizes the Debtor to execute all documents
necessary to carry out the terms of the Plan.

5.03 Objections to Claims and Allowances. No payment or distribution shall be made to the
holder of a claim against which an objection has been filed within thirty (30) days after the
Effective Date until any such objection to a claim has been determined by Final Order of the Court.
Disputed and unliquidated claims shall be estimated for purposes of voting and unless the Court
orders otherwise, payments to holders of contested claims that are subsequently allowed shall be
made in accordance with the terms of the Plan. Contest of claims shall be filed with the Court no
later than sixty (60) days after the Effective Date.

5.04 Retention of Assets. Except as provided for in the Plan or in the order confirming the
Plan, on the Confirmation Date the Debtor shall be vested with all of the property of the estate and
shall retain all property rights free and clear of all liens, charges, and other interests of the creditors.

                                     VI.
                  MODIFICATION AND CONFIRMATION OF THE PLAN

6.01 Pre-Confirmation Modifications. Debtor may propose modifications hereof at any time
prior to Confirmation without leave of this Court, upon such notice as may be required by this
Court. If such modification is made after acceptance hereof, this Plan as so modified shall be
deemed accepted by all holders of claims and equity interests that have previously accepted this
plan, provided that this Court finds that such modification would not materially and adversely
change the treatment of the holders of claims or equity interests that have not accepted such
modification in writing.

6.02    Post-Confirmation Modifications.

        (a) Except as provided in Subsection (b) of this section, Debtor may modify this Plan after
        Confirmation only if this Court determines that this Plan as so modified meets all of the
        requirements for confirmation.

        (b)    Notwithstanding Subsection (a) of this section, the Debtor may modify this Plan
        during the period between the Confirmation Date and the "substantial consummation,"
        provided that this Court determines only that such modification does not materially and
        adversely change the treatment of claims or equity interests but merely remedies a defect
        or omission or reconciles an inconsistency in or between this Plan and/or the Confirmation
        Order in such manner as may be necessary to carry out the purposes and effect hereof.




Case 18-83442-CRJ11            Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                      Desc
                                Main Document    Page 10 of 17
6.03   Effect of Confirmation.

       (a) Upon Confirmation, the provisions hereof shall bind the Debtor and each holder of a
       Claim whether or not (1) the Claim of such holder is impaired hereunder, or (2) such holder
       has accepted this plan.

       (b)     Except as otherwise provided herein or in the Confirmation Order, Confirmation
       vests all of the property of the estate in Debtor, free and clear of all claims.

       (c)     Except as provided for in § 1141(d)(5), Confirmation discharges the Debtor from
       any debt that arose before the Confirmation Date and any claim of a kind specified in
       Section(s) 502(g), 502(h), or 502(i) of the Bankruptcy Code, whether or not (1) a proof of
       claim is filed with respect thereto, (2) the debt appears in the schedules of liabilities filed
       by the Debtor, (3) the debt is allowed, or (4) the holder of such debt has accepted this Plan.

       (d)     Confirmation shall constitute approval or ratification by this Court of the
       assumption or rejection of the Debtor' executory contracts and unexpired leases pursuant
       to Section IV hereof.

       (e)     Confirmation shall constitute approval by this Court of all financing arrangements,
       leases, contracts, and other actions that the Debtor propose in the Disclosure Statement or
       herein, to enter into, make, or take in connection with implementation hereof, including the
       execution of any documents as of the Effective Date.

                                  VII.
              RETENTION, ENFORCEMENT AND WAIVER OF CLAIMS

7.01 Pursuant to § 1123 (b) (3) of the Code, the Debtor shall retain and may enforce any and all
claims of the Debtor except claims waived, relinquished, or released in accordance with the Plan.

7.02 No party in interest except the Debtor shall maintain or commence an action to recover a
preference as defined in § 547 (b) of the Code after the Confirmation Order is entered.

7.03 Contests of Claims shall be filed with the Court not later than thirty (30) days after the
Effective Date.
                                           VIII.
                              JURISDICTION OF THE COURT

8.01 Continuing Jurisdiction. The Court shall retain and have exclusive jurisdiction over the
Reorganization Case for the following purposes:

       (a)    To determine any and all objections to the allowance of claims or interests;

       (b)    To determine any and all applications for allowances of compensation and
       reimbursement of expenses and any other fees and expenses authorized to be paid or
       reimbursed under the Bankruptcy Code or the Plan;




Case 18-83442-CRJ11          Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                  Desc
                              Main Document    Page 11 of 17
       (c)     To determine any applications or motions pending on the Effective Date for the
       rejection, assumption, or assumption and assignment of any executory contract and to hear
       and determine, and if need be, to liquidate any and all claims arising therefrom;

       (d)    To determine any and all applications, adversary proceedings, and contested
       matters that may be pending on the Effective Date;

       (e)    To consider any modification of this Plan, remedy any defect or omission or
       reconcile any inconsistency in any Order of the Court, to the extent authorized by the Court;

       (f)     To determine all controversies, suits, and disputes that may arise in connection with
       the interpretation, enforcement, or consummation of the Plan or that may involve or affect
       the value of assets of the Company administered by the Plan;

       (g)     To consider and act on the compromise and settlement of any claim against or cause
       of action by or against the Debtor arising under or in connection with the Plan;

       (h)    To issue such orders in aid of execution of the Plan to the extent authorized by
       § 1142 of the Bankruptcy Code;

       (i)    To determine such other matters as may be set forth in any order or orders
       confirming the Plan or which may arise in connection with the Plan or any other Order or
       Orders confirming the Plan.
                                         IX.
                               MISCELLANEOUS PROVISIONS

9.01 Prior Court Orders. All prior orders entered by the United States Bankruptcy Court for
the Northern District of Alabama are hereby incorporated by reference, including their terms,
conditions, benefits, requirements and obligations.

9.02 Cramdown. With respect to any class not accepting the Plan, the Proponent does hereby
request confirmation of the Plan pursuant to § 1129(b) of the Bankruptcy Code on the grounds that
the Plan does not discriminate unfairly and is fair and equitable with respect to each class of claims
that are impaired.

9.03 Quarterly Fees. The Debtor will make their quarterly fees to the Bankruptcy
Administrator pursuant to 28 U.S.C. § 1930. Debtor will continue to make these payments as
required post-petition.

9.04 Compliance with Tax Requirements. In connection with the Plan, the Debtor will
comply with all withholding and reporting requirements imposed by federal, state and local taxing
authorities, and all distributions hereunder shall be subject to such withholding and reporting
requirements.




Case 18-83442-CRJ11          Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                  Desc
                              Main Document    Page 12 of 17
9.05 Retention of Liens. Each creditor whose claim is secured by a lien or mortgage on
property of the Debtor shall retain such lien or mortgage until such creditor’s claim is paid in full
according to the treatment proposed under the Plan at which time the lien shall be released.

9.06   Employment and Payment of Professionals.

       (a)     During the period between the Confirmation Date and the Effective Date, Debtor
       may (1) continue to avail itself of the services of professional persons whose employment
       was approved at or prior to Confirmation in completing the administration of this case and
       in the consummation and performance hereof, and (2) if necessary and with the approval
       of this Court, employ additional professional persons to render such services.

       (b)     With respect to services rendered and expenses incurred in or in connection with
       this case during such period by any such professional person, the professional person may
       render periodic billings therefore to the Debtor and the Debtor shall promptly pay the same,
       but each such payment shall be subject to review and approval by this Court as to the
       reasonableness thereof.

9.07 Notice of Hearing and Motions Post Confirmation. Upon confirmation of the Plan, all
of the motions, and applications for compensation to professionals, and notices of such hearings
shall be limited to the Debtor, Bankruptcy Administrator and any party of interest directly affected
by such motion or application.

9.08 Satisfaction of Claims. The rights afforded in this Plan shall be in exchange for and in
complete satisfaction, discharge, and release of all Allowed Claims, liens and encumbrances of
any nature whatsoever, including any interest accrued thereon from and after the Filing Date,
against the Debtor or any of their assets; and, except as otherwise provided herein, on
Confirmation, all such Allowed Claims against the Debtor or their assets, any other or further
Allowed Claim based upon any act or omission, transaction or other activity of any kind or nature
that occurred prior to Confirmation are satisfied, discharged and released.
                                            X.
                                      CLOSING OF CASE

10.1 Procedure for Closing Case. If the Court concludes that a hearing on such motion would
be appropriate, such hearing shall be conducted upon notice only to the Debtor, the Bankruptcy
Estate Administrator, and persons specially requesting notices at the hearing on confirmation.

       Respectfully submitted on August 21, 2019.

                                                      Debtor and Debtor-in-Possession

                                                      /s/ William Barrier Roberts
                                                      WILLIAM BARRIER ROBERTS

                                                      /s/ Stuart M. Maples
                                                      STUART M. MAPLES




Case 18-83442-CRJ11          Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                 Desc
                              Main Document    Page 13 of 17
Stuart M. Maples
MAPLES LAW FIRM, PC
200 Clinton Ave. W, Suite 1000
Huntsville, AL 35801
(256) 489-9779 - Telephone
(256) 489-9720 – Facsimile
smaples@mapleslawfirmpc.com
Counsel for the Debtor



                                CERTIFICATE OF SERVICE

       I do hereby certify that a copy of the foregoing document was served on the following by
the method listed below on August 21, 2019.

Richard Blythe
Bankruptcy Administrator
P.O. Box 3045
Decatur, AL 35602
Via email: richard_blythe@alnba.uscourts.gov

All parties requesting notice via ECF

Via U.S. Mail to all creditors on matrix

                                                   /s/ Stuart M. Maples
                                                   OF COUNSEL




Case 18-83442-CRJ11          Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29            Desc
                              Main Document    Page 14 of 17
Label Matrix for local noticing        Bullet & Barrel, LLC                Callahan PC
1126-8                                 612 Eustis Avenue                   301 Washington St. Ste 301
Case 18-83442-CRJ11                    Huntsville, AL 35801-4114           Huntsville, AL 35801-4892
NORTHERN DISTRICT OF ALABAMA
Decatur
Wed Aug 21 14:27:43 CDT 2019
First National Bank of Pulaski         PRA Receivables Management, LLC     SPECIALIZED LOAN SERVICING LLC
206 South 1st Street                   PO Box 41021                        8742 Lucent Blvd, Suite 300
Pulaski, TN 38478                      Norfolk, VA 23541-1021              Highlands Ranch, CO 80129-2386



SmartBank                              U. S. Bankruptcy Court              *Alabama Department of Revenue
c/o Justin B. Little                   400 Well Street                     PO Box 327483
REYNOLDS, REYNOLDS & LITTLE, LLC       P. O. Box 2775                      Montgomery, AL 36132-7483
Post Office Box 2863                   Decatur, AL 35602-2775
Tuscaloosa, AL 35403-2863

*American Express                      *Belk/Synchrony Bank                *GMFS LLC c/o SLS
PO Box 981535                          PO Box 530940                       8742 Lucent Blvd., Ste 300
El Paso, TX 79998-1535                 Atlanta, GA 30353-0940              Highlands Ranch, CO 80129-2386



*Home Depot                            *Internal Revenue Service           *North Alabama Bank
PO Box 790328                          Centralized Insolvency Operations   PO Box 669
Saint Louis, MO 63179-0328             PO Box 7346                         Hazel Green, AL 35750-0669
                                       Philadelphia, PA 19101-7346


*Redstone Federal Credit Union         716 Harding Way SE                  American Express National Bank
220 Wynn Dr.                           c/o Kevin C. Gray                   c/o Becket and Lee LLP
Huntsville, AL 35893-0001              Bradley Arant Boult Cummings LLP    PO Box 3001
                                       200 Clinton Avenue W, Suite 900     Malvern PA 19355-0701
                                       Huntsville, AL 35801-4933

Bullet & Barrel, LLC                   Charlotte Schlittler                David R. Beasley
c/o Melanie Murray                     c/o Kevin Gray, Esq.                655 Gallatin Street
612 Eustis Ave                         Bradley Arant Boult Cummings, LLP   Huntsville, Alabama 35801-4936
Huntsville, AL 35801-4114              200 Clinton Avenue West, Ste. 900
                                       Huntsville, Alabama 35801-4933

Dr. Rhett Blake Murray                 First National Bank                 GMFS LLC
612 Eustice Ave                        2101 Clinton Avenue, Suite 101      c/o Specialized Loan Servicing LLC
Huntsville, AL 35801-4114              Huntsville, Alabama 35805-3093      8742 Lucent Blvd, Suite 300
                                                                           Highlands Ranch, Colorado 80129-2386


Internal Revenue Service               Jayna P. Lamar                      Joyce White Vance
P.O. Box 7346                          1901 Sixth Avenue North             US Attorney General
Philadelphia, PA 19101-7346            2400 Regions/Harbert Plaza          1801 4th Ave North
                                       Birmingham, AL 35203                Birmingham, AL 35203-2101


Loretta Lynch US Attorney General      Luther Strange                      Melanie Murray
US Dept. of Justice                    Alabama Attorney General            612 Eustis Ave
950 Pennsylvania Ave NW                PO Box 300152                       Huntsville, AL 35801-4114
Washington, DC 20530-0009              Montgomery, AL 36130-0152

                Case 18-83442-CRJ11   Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29         Desc
                                       Main Document    Page 15 of 17
North Alabama Bank                                   Secretary of the Treasury                            (p)SMARTBANK
220 Providence Main                                  1500 Pennsylvania Ave., NW                           ATTN LYNN VANDERGRIFF - SPECIAL ASSETS
Huntsville, AL 35806-4831                            Washington, DC 20220-0001                            6413 LEE HIGHWAY
                                                                                                          SUITE 107
                                                                                                          CHATTANOOGA TN 37421-4860

State of Alabama                                     Synchrony Bank                                       U.S.Securities & Exchange Commission
Department of Revenue Legal Division                 c/o PRA Receivables Management, LLC                  Reg Director,Branch of Reorganization
PO Box 320001                                        PO Box 41021                                         Atlanta Regional Office,
Montgomery, AL 36132-0001                            Norfolk VA 23541-1021                                Suite 900 950 East Paces Ferry Road
                                                                                                          Atlanta, GA 30326-1382

United States Attorney                               United States Bankruptcy Administrator               Walter A. Dodgen
Northern District of Alabama                         Northern District of Alabama                         655 Gallatin Street
1801 Fourth Avenue North                             1800 Fifth Avenue North                              Huntsville, Alabama 35801-4936
Birmingham, AL 35203-2101                            Birmingham, AL 35203-2111


Blake Cantrell                                       Charlotte Bentley Schlittler                         David R. Beasley
Caldwell Banker of the Valley                        c/o Kevin Gray                                       655 Gallatin Street
7027 Old Madison Pike Suite 102                      200 Clinton Ave W                                    Huntsville, AL 35801-4936
Huntsville, AL 35806-2369                            Suite 900
                                                     Huntsville, AL 35801-4933

Jayna Partain Lamar                                  Melanie Hammer Murray                                Rhett Murray
Maynard, Cooper & Gale, P.C.                         612 Eustis Avenue                                    612 Eustis Avenue
1901 Sixth Ave North                                 Huntsville, AL 35801-4114                            Huntsville, AL 35801-4114
Suite 2400
Birmingham, AL 35203-4604

Richard M Blythe                                     Shannan League Roberts                               Stuart M Maples
United States Bankruptcy Administrator               c/o Kevin Gray                                       Maples Law Firm
PO Box 3045                                          200 Clinton Ave W                                    200 Clinton Ave. West, Ste. 1000
Decatur, AL 35602-3045                               Suite 900                                            Huntsville, AL 35801-4919
                                                     Huntsville, AL 35801-4933

Stuart M Maples                                      Walter A Dodgen                                      William Barrier Roberts
Maples Law Firm, PC                                  655 Gallatin Street                                  2115 Big Cove Rd
200 Clinton Avenue W.                                Huntsville, AL 35801-4936                            Huntsville, AL 35801-1347
Suite 1000
Huntsville, AL 35801-4919



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Smart Bank
PO Box 1910
Pigeon Forge, TN 37868




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

                Case 18-83442-CRJ11               Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29                            Desc
                                                   Main Document    Page 16 of 17
(u)NORTH ALABAMA BANK                  (u)*Citibank                       (d)PRA Receivables Management, LLC
                                       PO Box 790046                      PO Box 41021
                                       MO 63170                           Norfolk, VA 23541-1021



End of Label Matrix
Mailable recipients     50
Bypassed recipients      3
Total                   53




                Case 18-83442-CRJ11   Doc 161 Filed 08/21/19 Entered 08/21/19 14:30:29        Desc
                                       Main Document    Page 17 of 17
